Exhibit A
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SUPREME COURT OF THE STATE OF NEW YORK

 

 

COUNTY OF KINGS
% Index No. 512080 /2015
PATRICK CASEY
Plaintiff | Date Purchased 40/05/2015
i SUMMONS
- against-
PLS CHECK CASHING, Plaintiff Designates Kings

PLS CHECK CASHERS OF NEW YORK, INC, County as the Place of Trial

6901 4TH AVE., LLC,

MR. JUNE,

DESTINY BARRETO,

P.O. MIKELJAN AGOLLI,

CITY OF NEW YORK,

DEPARTMENT STORES NATIONAL BANK,
MACY'S OF NEW YORK,

MACY’S INC.

JOHN DOE & JANE DOE.

The Basis of Venue is
Residence of Plaintiff

Defendants

 

To the above named Defendants:

YOU ARE HEREBY SUMMONED to answer the Complaint in this action and to
serve a copy of your answer, or if the Complaint is not served with this Summons, to
serve a Notice of Appearance, on the Plaintiff's attorney within 20 days after the service
of this Summons, exclusive of the day of service, or within 30 days after service is
complete if this Summons is not personally delivered to you within the State of New
York; and in case of your failure to appear or answer, judgement will be taken against
you by default for the relief demanded in the Complaint.

Dated: Brooklyn, New York

10/05/2015 ‘si
Paul Hale, Esq.
Attorney for Plaintiff
26 Court St. Suite 913
Brooktyn, New York 11242
718-554-7344 RR

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SUPREME COURT OF NEW YORK

 

COUNTY OF KINGS
PATRICK CASEY , Index No.: §12080 / 2015
Plaintififs),
-against- VERIFTED
COMPLAINT
PLS CHECK CASHING,

PLS CHECK CASHERS OF NEW YORK, INC.,
6901 4TH AVE., LLC,

MR, JUNE,

DESTINY BARRETO,

P.O. MIKELJAN AGOLLI,

CITY OF NEW YORK,

DEPARTMENT STORES NATIONAL BANK,
MACY'S OF NEW YORK,

MACY’S INC.

JOHN DOE & JANE DOE.

Defendant(s).

 

Plaintiff PATRICK CASEY, by his attorney, PAUL A, HALE, complaining of the
defendants, respectfully alleges as follows:

1. Plaintiff, PATRICK CASEY, by his attorney, PAUL HALE, ESQ., as and for his Complaint in
this action against Defendants PLS CHECK CASHING, PLS CHECK CASHERS OF NEW
YORK, INC., 6901 4TH AVE., LLC MR, JUNE, DESTINY BARRETO, P.O,
MIKELIAN AGOLLI, CITY OF NEW YORK, DEPARTMENT STORES NATIONAL
BANK, MACY'S OF NEW YORK, MACY’S INC. JOHN DOE & JANE DOE hereby
alleges the following;

2. That at all times hereinafter mentioned, Plaintiff PATRICK CASEY was and is a resident of the
County of Kings, State of New York.

3, This action is brought to redress the violent, unprovoked assault by employees of Defendants
PLS CHECK CASHING, PLS CHECK CASHERS OF NEW YORK, INC., 6901 4TH
AVE., LLC, MR. JUNE, DESTINY BARRETO, P.O. MIKELIAN AGOLLI, CITY OF
NEW YORK, DEPARTMENT STORES NATIONAL BANK, MACY'S OF NEW
YORK, MACY’S INC. JOHN DOE & JANE DOE (hereinafter referred to as "Defendants",
when PATRICK CASEY was attacked on November 11; 2014 in the premises ofa PLS
CHECK CASHING focated at 6901 4th Ave. Brooklyn. New York 11209.

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That the defendant, DESTINY BARRETO is a resident of the State of New York.
That the defendant, P.O. MIKELJAN AGOLLI is a resident of the State of New York.
That the defendant, MR. JUNE is a resident of the State of New York.

Upon information and belief, and at all times hereinafter mentioned, on or about November 11, 2014,
the defendant, DESTINY BARRETO, was employed by PLS CHECK CASHING.

Upon information and belief, and at all times hereinafter mentioned, on or about November 11,
2014, the defendant, DESTINY BARRETO, was acting within the scope of employment at
PLS CHECK CASHING.

Upon information and belief, and at all times hereinafter mentioned, on or about November 11,
2014, the defendant, DESTINY BARRETO, when he violently, carelessly and negligently
caused plaintiff to be assaulted, DESTINY BARRETO was acting within the scope of his
employment at PLS CHECK CASHING.

Upon information and belief, and at all times hereinafter mentioned, on or about November 11, 2014, the
defendant, DESTINY BARRETO, was employed at PLS CHECK CASHING.

. Upon information and belief, and at all times hereinafter mentioned, on or about November 11, 2014,

the defendant, DESTINY BARRETO, was trained at PLS CHECK CASHING,

Upon information and belief, and at all times hereinafter mentioned, on or about November 11, 2014,
the defendant, DESTINY BARRETO, was at the premises known as at PLS CHECK
CASHING.

Upon information and belief, and at all times hereinafter mentioned, on or about November 11,
2014, the defendant, DESTINY BARRETO, CASEY was acting within the scope of his
employment when he violently, carelessly and negligently assaulted plaintiff.

On November 11, 2014, while plaintiff PATRICK CASEY was lawfully present inside the aforesaid
premises, when plaintiff was forcibly, negligently and carelessly attacked by the defendant,
DESTINY BARRETO and NYPD OFFICERS, causing the plaintiffto sustain severe and
permanent personal injuries.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees supervised, DESTINY BARRETO

. Upon information and belief, and at all times hereinafter mentioned, on or about

November 11, 2014, the defendant, PIS CHECK CASHING, its agents, servants and/or
employees controlled, DESTINY BARRETO .

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17. Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees trained, DESTINY BARRETO.

18, Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees managed, DESTINY BARRETO .

19, Upon information and belief, and at ail times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees employed, DESTINY BARRETO .

20. Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendants had actual and/or constructive notice of the
dangerous and vicious propensities and/or tendencies of its employees.

2{. Upon information and belief, and at all times hereinafter mention, on or about Novernber
11, 2014, the defendant DESTINY BARRETO provided security services to PLS
CHECK CASHERS OF NEW YORK, INC.

22. Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendants had actual and or constructive notice of the
dangerous and viscous propensities and/or tendencies of DESTINY BARRETO .

23, Upon information and belief, and at all times hereinafter mentioned, on or about November 11,
2014, the defendant, DESTINY BARRETO , was acting within the scope of at PLS CHECK
CASHERS OF NEW YORK, INC.

24. Upon information and belief, and at all times hereinafter mentioned, on or about November 11,
2014, the defendant, DESTINY BARRETO, when he violently, carelessly and negligently
assaulted plaintitf, PATRICK CASEY was acting within the scope of his employment at PLS
CHECK CASHERS OF NEW YORK, INC,

25, Upon information and belief, and at all times hereinafter mentioned, on or about November 1},
2014, the defendant, DESTINY BARRETO , when he violently, carelessly and negligently
assaulted plaintiff, PATRICK CASEY was acting within the scope of his at PLS CHECK
CASHERS OF NEW YORK, INC.

26, On November 11, 2014, while plaintiff PATRICK CASEY was lawfully present inside the aforesaid
restaurant/bar, when plaintiff was forcibly, negligently and carelessly attacked by the defendant,
DESTINY BARRETO, causing the plaintiff to sustain severe and permanent personal injuries.

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Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHERS OF NEW YORK, INC..,
its agents, servants and/or employees supervised, DESTINY BARRETO

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHERS OF NEW YORK, INC...,
its agents, servants and/or employees controlled, DESTINY BARRETO .

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHERS OF NEW YORK, INC..,
its agents, servants and/or employees trained, DESTINY BARRETO .

Upon information and belief, and at all times hereinafter mentioned, on or about
November 1], 2014, the defendant, PLS CHECK CASHERS OF NEW YORK, INC..,
its agents, servants and/or employees managed, DESTINY BARRETO .

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHERS OF NEW YORK, INC..,
its agents, servants and/or employees employed, DESTINY BARRETO .

That as a result of the occurrence, plaintiff suffered, continues to suffer, and will in the future suffer,
severe and serious injuries, and upon information and belief, some of these injuries are permanent;
suffered great bodily injuries; suffered great mental anguish; became sick, sore, lame and
disabled; was confined to hospital, bed and home for extended periods of time; expended
and incurred large sums of money for hospital bills, doctor bills, medical supplies and other
expenses in order to cure plaintiffs injuries; and plaintiff was unable to attend to usual duties,
activities and avocation.

That the said occurrence was caused solely by the negligence, carelessness and recklessness,
willfulness of the defendants in the course of their employment, their agents, servants, contractors,
subcontractors and/or employees in the ownership, operation, maintenance, management, control,
supervision, inspection, of the aforesaid premises, without any negligence on the part of the
plaintiff contributing thereto.

That this action falls within one or more of the exceptions set forth in Section 1602 of the CPLR.
By reason of the foregoing occurrence, the plaintiff, PATRICK CASEY, sustained severe and
permanent personal injuries, all to his damage in the sum which exceeds the jurisdictional limit of
all lower Courts which would otherwise have jurisdiction thereof.

Upon information and belief, and at all times hereinafter mentioned, the defendant, PLS
CHECK CASHING, was a business entity doing business in the State of New York,

Upon information and belief, and at all times hereinafter mentioned, the defendant, PLS

CHECK CASHING, leased the premises and/or restaurant/bar located at 6901 4th Ave.
Brooklyn, NY.

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38. Upon information and belief, and at all times hereinafter mentioned, the defendant, PLS
CHECK CASHING, supervised the premises and/or restaurant/bar located at 6901 4th
Ave. Brooklyn, NY.

39, Upon information and belief, and at all times hereinafter mentioned, the defendant, PLS
CHECK CASHING, inspected the premises and/or restaurant/bar located at 6901 4th Ave.
Brooklyn, NY.

40, Upon information and belief, that at all times herein mentioned, the Defendant PLS CHECK
CASHING, owned the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave. Brooklyn, NY. .

41. Upon information and belief, that at all limes herein mentioned, the Defendant PLS CHECK
CASHING, maintained the premises and appurtenances and fixtures thereto, located at 6901
4th Ave. Brooklyn, NY.

42, Upon information and belief, that at all times herein mentioned, the Defendant PLS CHECK
CASHING, controlled the premises and appurtenances and fixtures thereto, located at 6901
4th Ave. Brooklyn, NY.

43. Upon information and belief, that at all times herein mentioned, the Defendant PLS CHECK
CASHING, operated the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave. Brooklyn, NY.

44, Upon information and belief, that at all times herein mentioned, the Defendant PLS CHECK
CASHING managed the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave, Brooklyn, NY.

45, Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees supervised, DESTINY BARRETO

46. Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees controlled, DESTINY BARRETO .

47. Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees trained, DESTINY BARRETO .

48. Upon information and belief, and at all times hereinafter mentioned, on or about

November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees managed, DESTINY BARRETO .

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Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, PLS CHECK CASHING, its agents, servants and/or
employees employed, DESTINY BARRETO .

Upon information and belief, and at all times hereinafter mentioned, the defendant, MR.
JUNE, was a resident doing business in the State of New York.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, MACY’S INC, its agents, servants and/or émployees
supervised, MR. TUNE,

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, MACY’S INC, its agents, servants and/or employees
controlled, MR, JUNE,

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, MACY’S INC, its agents, servants and/or employees
trained, MR, JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, MACY’S INC, its agents, servants and/or employees
managed, MR. JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, MACY’S INC, its agents, servants and/or employees
employed, MR. JUNE,

Upon information and belief, and at all times hereinafter mentioned, the defendant,
DEPARTMENT STORES NATIONAL BANK, was a resident doing business in the State
of New York,

DEPARTMENT STORES NATIONAL BANK is affiliated with MACY’S OF NEW
YORK & MACY’S INC,

Upon information and belief, and at all times hereinafter mentioned, the defendant,
DEPARTMENT STORES NATIONAL BANK, leased the premises and/or restaurant/bar
located at 6901 4th Ave. Brooklyn, NY

Upon information and belief, and at all times hereinafter mentioned, the defendant,
DEPARTMENT STORES NATIONAL BANK, supervised the premises and/or
restaurant/bar located at 6901 4th Ave. Brooklyn, NY.

Upon information and belief, and at ail times hereinafter mentioned, the defendant,
DEPARTMENT STORES NATIONAL BANK, inspected the premises and/or restaurant/bar
located at 6901 4th Ave. Brooklyn, NY.

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Upon information and belief, that at all times herein mentioned, the Defendant
DEPARTMENT STORES NATIONAL BANK, owned the premises and appurtenances and
fixtures thereto, located at 6901 4th Ave, Brooklyn, NY.

Upon information and belief, that at all limes herein mentioned, the Defendant
DEPARTMENT STORES NATIONAL BANK, maintained the premises and appurtenances
and fixtures thereto, located at 6901 4th Ave. Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant
DEPARTMENT STORES NATIONAL BANK, controlled the premises and appurtenances and
fixtures thereto, located at 6901 4th Ave. Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant
DEPARTMENT STORES NATIONAL BANK, operated the premises and appurtenances and
fixtures thereto, located at 6901 4th Ave. Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant
DEPARTMENT STORES NATIONAL BANK managed the premises and appurtenances and
fixtures thereto, located at 6901 4th Ave, Brooklyn, NY.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, DEPARTMENT STORES NATIONAL BANK, its
agents, servants and/or employees supervised, MR JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, DEPARTMENT STORES NATIONAL BANK, its
agents, servants and/or employees controlled, MR JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, DEPARTMENT STORES NATIONAL BANK, its
agents, servants and/or employees trained, MR JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, DEPARTMENT STORES NATIONAL BANK, its
agents, servants and/or employees managed, MR JUNE.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, DEPARTMENT STORES NATIONAL BANK, its
agents, servants and/or employees employed, MR JUNE.

Upon information and belief, and at all times hereinafter mentioned, the defendant, 6901
4TH AVE., LLC, was a business entity doing business in the State of New York.

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Upon information and belief, and at all times hereinafter mentioned, the defendant, 6901
4TH AVE., LLC, leased the premises and/or restaurant/bar located at 6901 4th Ave.
Brooklyn, NY,

Upon information and belief, and at all times hereinafter mentioned, the defendant, 6901
4TH AVE,, LLC, supervised the premises and/or restaurant/bar located at 6901 4th Ave.
Brooklyn, NY.

Upon information and belief, and at all times hereinafter mentioned, the defendant, 6901
4TH AVE., LLC, inspected the premises and/or restaurant/bar located at 6901 4th Ave.
Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant 6901 4TH
AVE., LLC, owned the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave. Brooklyn, NY,

Upon information and betief, that at all limes herein mentioned, the Defendant 6901 4TH
AVE, LLC, maintained the premises and appurtenances and fixtures thereto, located at 6901
4th Ave. Brooklyn, NY,

Upon information and belief, that at all times herein mentioned, the Defendant 6901 4TH
AVE,, LLC, controlled the premises and appurtenances and fixtures thereto, located at 6901
4th Ave. Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant 6901 4TH
AVE., LLC, operated the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave. Brooklyn, NY.

Upon information and belief, that at all times herein mentioned, the Defendant 6901 4TH
AVE.,, LLC managed the premises and appurtenances and fixtures thereto, located at 6901 4th
Ave. Brooklyn, NY.

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, 6901 4TH AVE., LLC, its agents, servants and/or
employees supervised, DESTINY BARRETO

Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, 6907 4TH AVE,, LLC, its agents, servants and/or
employees controlled, DESTINY BARRETO .

Upon information and belief, and at all times hereinafter mentioned, on or about

November 11, 2014, the defendant, 6901 4TH A'VE., LLC, its agents, servants and/or
employees trained, DESTINY BARRETO .

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Upon information and belief, and at all times hereinafter mentioned, on or about
November 11, 2014, the defendant, 6901 4TH AVE., LLC, its agents, servants and/or
employees managed, DESTINY BARRETO .

Upon information and belief, and at ail times hereinafter mentioned, on or about
November 11, 2014, the defendant, 6901 4TH AVE., LLC, its agents, servants and/or
employees employed, DESTINY BARRETO.

At all times relevant to this action, Defendants Police Officers are and were officers of the

City of New York Police Department and acting under color of state law. Said officers are
being sued in both their individual and official capacities.

At all times relevant to this action, Defendant P.O, MIKELJAN AGOLLI was a police
officer with the City of New York Police Department and acting under color of state law.
He is being sued in both his individual and official capacity.

The Defendant, City of New York, is a municipality in the State of New York and employs
the Defendants Police Officers.
The Defendants Police Officers were at all material times acting within the scope of their

employment, and as such, the defendant City is vicariously liable for the Defendants Police
Officers' acts as described below.

NATURE OF CLAIMS
tt arises out of Defendants’ false arrest and malicious prosecution of plaintiff.

Defendants’ employees intentionally, prosecuted plaintiff negligently, willfully, and fraudulently,

FACTUAL ALLEGATIONS

On November 11, 2014 MACY’S though DEPARTMENT STORES NATIONAL BANK
issued a check to PATRICK CASEY in the amount of $1,533.63.

PATRICK CASEY attempted to cash said check at PLS CHECK CASHING located at 6901
4th Ave, Brooklyn, NY.

At the above time and place DESTINY BARRETO called the police on PATRICK CASEY
and had him arrested for a fraudulent check despite the check being valid.

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94. This in tum resulted in a New York City Police officer assaulting PATRICK CASEY. This was
foreseeable and as a direct result of defendant’s making false accusations and then filing criminal
charges against PATRICK CASEY.

95. P.O. MIKELJAN AGOLLI falsely arrested PATRICK CASEY.

96. P.O. MIKELJAN AGOLLI maliciously prosecuted MR. CASEY despite the fact it was
determined the check was not fraudulent,

97, Either MR. JUNE lied to P.O. MIKELJAN AGOLLI and stated the check was fraudulent
furthering the malicious prosecution or MR. CASEY or P.O. MIKELJAN AGOLLI
concocted the story that he spoke with a “MR. JUNE” furthering the malicious
prosecution or MR, CASEY

98, Defendant’s then maliciously prosecuted PATRICK CASEY by telling the Kings County District
Attomey’s office that he had a fraudulent check — which is a false statement,

99. All charges were eventually dismissed when it became clear that defendants were making false
staternents regarding the incident,

AS AND FOR A FIRST CAUSE OF ACTION (Battery)

100. Plaintiff incorporates herein by reference the allegations set forth in the preceding
paragraphs. ‘

101. Defendants physical attack committed against Plaintiff, amounted to a series of harmful
and offensive contacts to Plaintiffs person, all of which were done intentionally by Defendants
employees without the Plaintiffs consent,

102, As a direct and proximate result of the aforementioned batteries, Plaintiff has sustained
in the past, and will sustain on the future, physical injury, pain and suffering, serious
psychological and emotional distress, mental anguish, embarrassment and humiliation.

AS AND FOR A SECOND CAUSE OF ACTION

(Assault)
103. Plaintiff incorporates herein by reference the allegations set forth in the preceding
paragraphs.
104, Defendants’ viclent attack committed against plaintiff without provocation amounted to

an event creating reasonable apprehension in Plaintiff of immediate harmful or offensive contact
to Plaintiffs person, all of which were committed by Defendants and without Plaintiffs consent.

105. Asa direct and proximate result of the aforementioned assault. Plaintiff has sustained in
the past, and will sustain on the future, physical injury, pain and suffering, serious psychological

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and emotional distress, mental anguish, embarrassment and humiliation.
AS FOR USE OF ACTION (Prima Facie Tort

106. Plaintiff incorporates herein by reference the allegations set forth in the preceding
paragraphs.

197. Defendants are liable for the actions of their employees.

108. Defendants, through its employees, agents, servants, intentionally committed the
aforementioned actions against Plaintiff.

109. Defendants through their employees, agents, servants intended that the aforementioned
actions would cause Plaintiff physical and psychological harm.

110. Defendants aforementioned actions committed against Plaintiff have cansed, and
continue to cause Plaintiff physical injuries, pain and suffering, humiliation, depression and
emotional distress.

111. Defendants conduct was unlawful and not justifiable under all of the circumstances.
AS AND FOR A FOURTH CAUSE OF ACTION ligence and Respondeat Superior

112. That Defendants were negligent and grossly negligent in the screening, hiring,
supervision, management, training, and evaluation of its personnel.

113. The above-mentioned occurrence and the results thereof, were caused by the
negligence and carelessness of the Defendants and/or said Defendants servants, agents,
employees and/or licensees in the screening, hiring, supervision, management, training, and
evaluation of its personnel.

114. That no negligence on the part of the Plaintiff contributed to the occurrence alleged
herein in any manner whatsoever.

115. That by reason of the foregoing, Plaintiff was caused to sustain serious and permanent
injuries and to have suffered pain, shock and mental anguish; that these injuries and their effects
will be permanent.

116. As a result of defendants’ conduct, plaintiff has suffered physical pain and mental
anguish, together with shock, fright, apprehension, embarrassment and humiliation.

AS OR A CAUSE OF ACTION
FALSE ARREST

117, Plaintiff repeats, reiterates and realleges each and every allegation contained in the
previous paragraphs with the same force and effect as if fully set forth herein.

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[18, Defendant arrested plaintiff in the absence of probable cause and without a warrant,

119. As a result of the aforesaid conduct by defendants, plaintiff was subjected to an illegal,
improper and false arrest by the defendants and taken into custody and caused to be falsely
imprisoned, detained, confined, incarcerated and prosecuted by the defendants in criminal
proceedings.

120, The aforesaid actions by the defendants constituted a deprivation of the plaintiffs

rights.
AS AND FOR A SIXTH CAUSE OF ACTION

FALSE IMPRISONMENT

121. Plaintiff repeats, reiterates and realleges each and every allegation contained in the
previous paragraphs with the same force and effect as if fully set forth herein,

122. As a result of the foregoing, plaintiff was falsely imprisoned, his liberty was
restricted for an extended period of time, was put in fear for his safety, was
humiliated and subjected to handcuffing, and other physical restraints.

123, Plaintiff was conscious of said confinement and did not consent to same.

124. The confinement of plaintiff was without probable cause and was not otherwise
privileged.

125. As a result of the aforementioned conduct, plaintiff has suffered physical and

mental injury, together with embarrassment, humiliation, shock, fright and Joss of freedom.

AS AND FOR A SEVENTH CA OF ON
MALICIOUS PROSECUTION

126. Plaintiff repeats, reiterates and realleges each and every allegation contained in the
previous paragraphs with the same force and effect as if fully set forth herein.

127. _ On 1/20/2013, defendants commenced a criminal proceeding against plaintiff.

128, Defendants lacked probable cause to commence said criminal proceeding against
plaintiff.

129, Defendants were motivated by actual malice in commencing said criminal
proceeding against plaintiff,

130. On 3/20/2013, the criminal prosecution against plaintiff was terminated in his favor

when all charges were dismissed.

131, As a result of the aforementioned conduct, plaintiff suffered physical and mental injury,

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together with embarrassment, humiliation, shock, fright, and loss of freedom.

AS AND FOR A EIGTH CAUSE OF ACTION
Oo ONALD S

132, Plaintiff repeats, reiterates and realleges each and every allegation contained in the
previous paragraphs with the same force and effect as if fully set forth herein,

133. The aforementioned conduct was extreme and outrageous, and exceeded all reasonable
bounds of decency.

134. The aforementioned conduct was committed by defendants while acting within the
scope of their employment by defendants.

135. The aforementioned conduct was committed by defendants while acting in furtherance
of their employment by defendants,

136. The aforementioned conduct was intentional and done for the sole purpose of
causing severe emotional distress to plaintiff.

137, As a result of the aforementioned conduct, plaintiff suffered severe emotional
distress, physical and mental injury, together with embarrassment, humiliation, shock,
fright and loss of freedom.

FOR AN AUSE OF A ON
Violation of Dram Shop Act
138. ‘That Plaintiff, PATRICK CASEY, repeats, reiterates and realleges cach and every

allegation contained in previous Paragraphs, both inclusive, with the same force and effect
as though fully set forth at length herein, and in addition thereto, states the following.

139. That defendants, their agents, servants and/or employees, unlawfully violated New
York General Obligations Law [1-101 (The Dramshop Act) and New York State Alcohol
Beverage Law section 65. ,

140, By reason of the. foregoing occurrence, plaintiff, PATRICK CASEY, sustained
serious and severe permanent personal injuries, all to his damage in a sum which exceeds
the jurisdictional limit of all lower Courts which would otherwise have jurisdiction.

A FOR THCA ACTI
NEGLIGENT G ON
141. Plaintiff repeats, reiterates and realleges each and every allegation contained in the

previous paragraphs with the same force and effect as if fully set forth herein.

142. Defendants selected, hired, trained, retained, assigned and supervised all members

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of said its Police Department, including the defendants individually named above,

143. Defendants were negligent and careless when it selected, hired, trained, retained,
assigned, and supervised all members of its operation, including the defendants individually
named above,

144, Due to the negligence of the defendants as set forth above, plaintiff suffered
physical and mental injury, pain and trauma, together with embarrassment, humiliation
shock, fright, and loss of freedom.

FOR A ELE THCA OF ACTION

EGLIGENCE AGA! DE
145. Plaintiff repeats and realleges all paragraphs as if each paragraph is repeated
verbatim herein.
146, As a direct and proximate result of the negligent acts of all the defendants as set

forth herein, plaintiffs suffered physical injury, conscious pain and suffering, medical
expenses, lost wages, and severe mental anguish

147. That by reason of the said negligence, plaintiff suffered and still suffers bodily
injuries, became sick, sore, lame and disabled and have remained sick, sore, lame and
disabled since the aforesaid incident; has suffered great pain, agony and mental anguish
and is informed and verily believes that they will continue to suffer for a long time to come
and that said injuries are permanent; has suffered economic loss inasmuch as she was
forced to, and are still forced to expend sums of money on medical treatment; that she was
deprived of her pursuits and interests and verily believes that in the future she will continue
to be deprived of such pursuits; and that said injuries are permanent.

148. This action falls within one or more of the exceptions of the New York State Civil
Practice Law and Rules §1602.

AS AND FOR A TWELFTH CAUSE OF ACTION

42. U.S.C SECTION 1983-AGAINST ALL DEFENDANTS
149, Plaintiff hereby restates all paragraphs above of this complaint, as though fully set
forth below.
150. By detaining and imprisoning plaintiff, without justification, probable cause or

reasonable suspicion, using excessive force, and assaulting her, the Officers, Defendants
deprived Plaintiff of rights, remedies, privileges, and immunities guaranteed to every
citizen of the United States, in violation of 42 U.S.C, Section 1983, including, but not
limited to, rights guaranteed by the Fourth, Eighth and Fourteenth Amendments of the
United States Constitution,

151, In addition, the Defendants conspired among themselves to deprive plaintiff of his

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constitutional rights secured by 42 U.S.C. Section 1983, and by the Fourth, Eighth and
Fourteenth Amendments to United States Constitution, and took numerous overt steps in
furtherance of such conspiracy, as set forth above.

152. The Defendant acted under pretense and color of state law and in their individual
and official capacities and within the scope of their respective employment as NYPD
Officers. Said acts by the Defendants Officers were beyond the scope of their jurisdiction,
without authority of law, and in abuse of their powers, and said Defendants acted willfully,
knowingly, and with the specific intent to deprive the Plaintiff of his constitutional rights
secured by 42 U.S.C. Section 1983, and by the Fourth, Eighth and Fourteenth Amendments
to the United States Constitution.

153. As a direct and proximate cause of the acts of the defendants, plaintiff suffered the
following injuries and damages:

A, An arrest not based upon probable cause;
Unwarranted and malicious criminal prosecution;

Deprivation of liberty without due process of law;

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Excessive force imposed upon him;

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Summary punishment imposed upon him; and
F, Denied equal protection under the law.

As a direct and proximate result of the misconduct and abuse of authority detailed above,
Plaintiff sustained the damages herein before stated.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against the Defendants herein, in a sum exceeding the
jurisdiction limits of all lower courts which would otherwise have jurisdiction, together with costs and
disbursements of this action.

WHEREFORE, plaintiff respectfully requests judgment against the Defendants as follows:

1, On the First Cause of Action, against all Defendants, compensatory damages in an amount
to be determined at trial, and punitive damages against the Officers Defendants in an
amount to be determined at trial;

2. On the Second Cause of Action, against all Defendants, compensatory damages in an

amount to be determined at trial, and punitive damages against the Officers Defendants in
an amount to be determined at trial;

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3. On the Third Cause of Action, against all Defendants, compensatory damages in an
amount to be determined at trial, punitive damages against the Defendants in an amount to
be determined at trial;

4, On the Fourth Cause of Action, against all Defendants, compensatory damages in an
amount to be determined at trial, punitive damages against the Defendants in an amount to
be determined at trial;

5, On the Fifth Cause of Action, against all Defendants, compensatory damages in an amount
to be determined at trial, punitive damages against the Defendants in an amount to be
determined at trial;

6, On the Sixth Cause of Action, against all defendants, compensatory damages in an amount
to be determined at trial;

7, On the Seventh Cause of Action, against all Defendants, compensatory damages in an
amount to be determined at trial, punitive damages against the Defendants in an amount to
be determined at trial;

8, On the Eighth Cause of Action, against all Defendants, compensatory damages in an
amount to be determined at trial, punitive damages against the Defendants in an amount to
be determined at trial;

9, On the Ninth Cause of Action, against all Defendants, compensatory damages in an amount
to be determined at trial, punitive damages against the Defendants in an amount to be
determined at trial;

10. On the Tenth Cause of Action, against all Defendants, compensatory damages in an amount
to be determined at trial, punitive damages against the Defendants in an amount to be
determined at trial;

11. On the Eleventh Cause of Action against ail the defendants, compensatory and punitive
damages in an amount to be determined at trial, and reasonable attorneys’ fees and costs
under 42 U.S.C. Section 1988;

12. Such other and further relief as this Court may deem necessary in the interest of justice.

JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.

Dated: 10/5/2015 Brooklyn, NY
/sf
Paul Hale, Esq.

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Attorney for plaintiff(s)
26 Court St, Ste 913
Brooklyn, NY 11242
(718) 554-7344

 
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VERIFICATION

STATE OF NEW YORK )
) ss.
COUNTY OF KINGS )
1, Patrick Casey being duly sworm, deposes and says:
I have read the foregoing complaint , and I know the contents

thereof: the same is true to my own knowledge , except as to matters therein stated to be

alleged on information and belief, and as to those matters J believe them to be true.

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Sworn to before me this seo day of actobec”

2015

 

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